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UNITED STATES BANKRUPTCY COURT

 

DISTRICT OF MARYLAND
SALISBURY DIVISION

IN RE: BCN#: 19-22034
REEVEN H GETROUW

Debtor Chapter: 7
NATIONSTAR MORTGAGE LLC D/B/A MR.
COOPER
and its assignees and/or MOTION FOR ORDER GRANTING RELIEF
successors in interest, FROM AUTOMATIC STAY

Movant/Secured Creditor,
Vv.
REEVEN H. GETROUW

Debtor

and

Charles R Goldstein
Trustee
Respondents

COMES NOW, Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or
successors in interest, (Movant herein), by Counsel, alleges as follows:

1. This Court has Jurisdiction over this proceeding pursuant to 28 U.S.C.
Sections 157 and 1334 and 11 U.S.C. 362; Federal Rule of Bankruptcy Procedure
9014; and Local Bankruptcy Rule 4001-1(a), and that this matter is a core proceeding.

2. The above named Debtor(s) filed a Chapter 7 Petition in Bankruptcy with
this Court on September 9, 2019.

3. The Movant is the current payee of a promissory note secured by a Deed
of Trust upon a parcel of real property with the address of 30320 Zion Rd, Salisbury,
MD 21804 and more particularly described in the Deed of Trust dated November 29,
2004 and recorded at Book 2332 at Page 156, among the land records of the County of
Wicomico, Maryland:

ALL that lot, tract or parcel of land situate, lying and being in the Parsons
Election District of Wicomico County and State of Maryland, being more

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particularly shown and designated as all of Lot No. 2, in Block "A" on a plat
entitled "Whaynora-Manor, Section No. One" made by Harold W. Hampshire,
dated April 20, 1975 and recorded among the Land Records of Wicomico
County, Maryland in Plat Liber A.J.S. No. 2, Folio 301.

BEING the same property conveyed unto Reeven H. Getrouw from Gary
Andrew Gladwell and Rebecca T. Gladwell by Deed of even date herewith
and recorded or intended to be recorded immediately prior hereto.

Copies of the Deed of Trust and Note are attached hereto, marked as exhibits A
& B and made a part hereof by reference.

4. This Movant is informed and believes, and based upon such information
and belief, alleges that title to the subject Property is currently vested in the name of the
Debtor(s).

5. As of September 11, 2019, the estimated outstanding obligations are:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Unpaid Principal Balance $ 128,996.89
Unpaid, Accrued Interest $ 4,719.00
Uncollected Late Charges $ 0.00
Mortgage Insurance Premiums $ 0.00
Taxes and Insurance Payments on behalf of Debtor $ 2,216.14
Other Costs > 55,677.59
Less: Partial Payments ($ 0.00)
Minimum Outstanding Obligations $ 191,609.62
6. The Debtor is in default with regard to payments which have become due
under the terms of the aforementioned note and Deed of Trust.
As of September 11, 2019, the Debtor is due for:
Number of From To Monthly Total Missed
Missed Payment Payments
Payments Amount
5 November 1, 2018 March 1, 2019 $831.35 $4,156.75
6 April 1, 2019 September 1, 2019 $845.68 $5,074.08
Atty Fees and Costs: $931.00

 

 

 

Total Payments: _ $10,161.83

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7. The Movant has elected to initiate foreclosure proceedings on the
Property with respect to the subject Deed of Trust, but is prevented by the Automatic
Stay from going forward with these proceedings.

8. This Movant is informed and believes, and based upon such information
and belief, alleges that absent this Court's Order allowing this Movant to proceed with
the pending foreclosure, Movant's security will be significantly jeopardized and/or

destroyed.

9. Charles R Goldstein, has been appointed by this Court as the Chapter 7
Trustee in this instant Bankruptcy proceeding.

10. This Movant is informed and believes and, based upon such information
and belief, alleges that the Debtor has little or no equity in the property.

WHEREFORE, Movant prays for an order granting relief from Automatic Stay,

and for such other relief as the Court deem proper.

Dated: September 20, 2019
SHAPIRO & BROWN, LLP
Attorneys for Movant

By: /s/ Malcolm B. Savage, Ill
William M. Savage, Esquire
Federal |.D. Bar No. 06335
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Manassas, Virginia 20109
(703) 449-5800

ECF@Logs.com

Certificate of Service

| hereby certify that on the 20th day of September, 2019, the following person(s) were served a
copy of the foregoing Motion in the manner described below:

Via CM/ECF Electronic Notice:

JOHN B. ROBINS, IV

JOHN B. ROBINS, IV, P.A.
PO BOX 506

SALISBURY, MD 21803-0506

Charles R Goldstein
111 S Calvert St
Suite 1400
Baltimore, MD 21202

Via First Class Mail, Postage Prepaid:

Reeven H. Getrouw
30320 Zion Rd
Salisbury, MD 21804

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Debtor's Attorney

Trustee

Debtor

/s/ Malcolm B. Savage, III
William M. Savage, Esquire
Kristine D. Brown, Esquire
Thomas J. Gartner, Esquire
Gregory N. Britto, Esquire
Malcolm B. Savage, III, Esquire
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